{¶ 39} I concur with the decision of the majority to affirm the judgment of the trial court. However, I do not agree with the majority in its holding that "information obtained by a paramedic when giving emergency care to an individual is not a privileged communication falling within the protection of the physician-patient privilege."
  {¶ 40} I agree with the position set forth in the opinion of the Office of the Ohio Attorney General ("OAG"), which was addressing the question of whether "run sheets" from emergency medical services ("EMS") would constitute public records subject to mandatory disclosure. The OAG stated that, "[I]information on a run sheet created and maintained by a county emergency medical services organization that documents medication or other treatment administered to a patient by an EMS unit, diagnostic procedures performed by an EMS unit, or the vital signs and other indicia of the patient's condition or diagnosis and is relied upon by a physician for diagnostic or treatment purposes, is a communication covered by the physician-patient testimonial privilege of R.C. 2317.02(B) and is confidential information, the release of which is prohibited by law for purposes of R.C.149.43(A)(1)(v)." 2001 Ohio Atty.Gen.Ops. No. 041.
I further agree with the OAG's statement that the physician-patient privilege does not extend to information observed and recorded by emergency medical technicians, first responders, or paramedics unless that information is intended to assist a physician in diagnosis and treatment. Id., citing 1999 Ohio Atty.Gen.Ops. No. 99-006. Thus, the question of whether physician-patient testimonial privilege applies to any information in a run sheet will depend on the facts of each situation. Id., citing 1999 Ohio Atty.Gen.Ops. No. 99-106.
  {¶ 41} Therefore, I believe that this court's holding should have stated that information obtained by a paramedic when giving emergency care to an individual is not privileged communication falling within the protection of the physician-patient privilege unless the information is intended to assist a physician in diagnosis and treatment.